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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   )
                                           )
       v.                                  )       Criminal No. 18-292
                                           )
ROBERT BOWERS                              )

                                 ORDER OF COURT

       Upon consideration of the Motion to Extend the Time for Filing Pretrial Motions,

it is hereby ORDERED that the motion is GRANTED.

       IT IS ORDERED that any pretrial motions referred to in Local Criminal Rule 12

are due on or before July 18, 2022.

       IT IS FURTHER ORDERED that the delay resulting from this extension of time

(April 18, 2022 until July 18, 2022) be deemed excludable delay under the Speedy Trial

Act 18 U.S.C. '3161 et seq. For the reasons stated in Mr. Bowers’ motion, the Court

finds that the ends of justice served by granting this continuance outweigh the best

interest of the public and the defendant to a speedy trial. Specifically, the court finds that

this continuance is justified given the complexity of the case, pursuant to 18 U.S.C. '

3161(h)(7)(A) and (B)(ii).



  4/14/22
_____________________                                s/Robert J. Colville
                                                   __________________________
Date                                               Robert J. Colville
                                                   United States District Judge




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